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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


  AMERICAN ALTERNATIVE INSURANCE
  CORPORATION,

        Plaintiff,

  v.

  KOPELOWITZ OSTROW P.A., DALE
  LEDBETTER, and JAN ATLAS,
                                                       CASE NO. ________________
        Defendants, and

  1 GLOBAL CAPITAL LLC, 1 WEST
  CAPITAL LLC, CARL RUDERMAN, AND
  SARAH FOSTER, INDIVIDUALLY AND
  ON BEHALF OF ALL OTHERS
  SIMILARLY SITUATED,

        Nominal Defendants.


                     COMPLAINT FOR DECLARATORY JUDGMENT

        Plaintiff AMERICAN ALTERNATIVE INSURANCE CORPORATION (“AAIC”), by

  and through its undersigned counsel, hereby sues Defendants, KOPELOWITZ OSTROW P.A.

  (“KO”), DALE LEDBETTER (“Ledbetter”), JAN ATLAS (“Atlas”), and Nominal Defendants, 1

  WEST CAPITAL LLC (“1 West”), 1 GLOBAL CAPITAL LLC (“1 GLOBAL”), CARL

  RUDERMAN (“Ruderman”), and SARAH FOSTER, INDIVIDUALLY AND ON BEHALF OF

  ALL OTHERS SIMILARLY SITUATED (“Foster”), for declaratory relief and states:

                                 JURISDICTION AND VENUE

        1.      This is an action for declaratory relief pursuant to 28 U.S.C. Section 2201.




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         2.        This Court has jurisdiction pursuant to 28 U.S.C. Section 1332(a)(1) based upon

  the diversity of the citizenship and the parties and provisions of the Federal Declaratory

  Judgment Act to declare the rights and obligations of the parties under certain policies of

  insurance.

         3.        The amount in controversy includes the disputed liability limits of $2 million per

  claim and $4 million in the aggregate in liability insurance coverage under each of two policies

  of professional liability insurance. Thus, the amount in controversy is in excess of this Court's

  minimum jurisdictional amount of $75,000, exclusive of interest, costs and attorney's fees.

         4.      Venue is appropriate in the Southern District of Florida because some of the acts

  underlying this Complaint occurred in this district, as well as the fact that the underlying action

  for damages, from which this suit arises, is pending in Miami-Dade County, Florida. Moreover,

  as alleged below, several of the Defendants are residents of Miami-Dade County, Florida.

         5.      All conditions precedent to the filing of this action have occurred or have been

  complied with.

                                               PARTIES

         6.        At all times material to this action, Plaintiff AAIC is and was a Delaware

  corporation with its principal place of business in New Jersey. AAIC issued two Lawyers

  Professional Liability Insurance policies to the Named Insured, Kopelowitz Ostrow P.A.

  (defendant “KO” herein), one for the period of December 1, 2017 to December 1, 2018 (Policy

  No. 5LA2PL000149-03) (the “First AAIC Policy”) (attached as Exhibit A hereto), and the other

  for the period of December 1, 2018 to December 1, 2019 (Policy No. 5LA2PL000149-04) (the

  “Second AAIC Policy”) (attached as Exhibit B hereto) (collectively the “AAIC Policies”).




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         7.      At all times material to this action, Defendant KO is and was a Florida

  Professional Association with its principal place of business in Miami-Dade County, Florida. KO

  is a law firm and it is the Named Insured under both AAIC Policies.

         8.      At all times material to this action, Defendant Ledbetter is and was a resident and

  citizen of Florida. Ledbetter was an attorney employed or associated with KO. He claims rights

  as an insured under one or more of the AAIC Policies.

         9.      At all times material to this action, Defendant Atlas is and was a resident and

  citizen of Florida. Atlas was an attorney employed or associated with KO. He claims rights as

  an insured under one or more of the AAIC Policies.

         10.     At all times material to this action, Defendants 1 West and 1 Global are and were

  Florida Limited Liability Companies with their principal places of business in Hallandale Beach,

  Florida. As detailed below, 1 West and/or 1 Global allege that KO, Ledbetter and/or Atlas are

  liable for certain acts committed during the course of KO’s legal representation of 1 West and/or

  1 Global. 1 West and 1 Global are also defendants in a lawsuit filed by the Securities and

  Exchange Commission, as detailed below.

         11.     At all times material to this action, Defendant Ruderman is and was a resident and

  citizen of the State of Florida, residing in Miami-Dade County. Ruderman was the CEO of

  Defendants 1 West and/or 1 Global. As detailed below, he has also asserted claims against KO,

  Ledbetter and/or Atlas in connection with their legal representation of, and/or other activities on

  behalf of, Defendants 1 West and/or 1 Global. Ruderman is also a defendant in a lawsuit filed by

  the Securities and Exchange Commission, as detailed below.

         12.     Defendant Foster is a resident and citizen of the State of Arizona. As detailed

  below, Foster filed a putative class action complaint alleging, inter alia, that KO and Ledbetter


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  acted in concert with Ruderman in the sale of unregistered securities to Ms. Foster and the

  putative plaintiff class.

          13.     1 Gobal, 1 West, Ruderman and Foster (“Nominal Defendants”) have asserted

  liability claims against one or more of AAIC’s insureds that are Defendants in this action (KO,

  Ledbetter and/or Atlas).     As such, Nominal Defendants’ rights may be affected by the

  adjudication of this action to determine the existence or scope of insurance coverage for Nominal

  Defendants’ liability claims. Accordingly, Nominal Defendants are proper parties to this action

  and should be bound by the adjudication thereof. Capitol Specialty Ins. Corp. v. R.G. Rancho

  Grande Corp., 2010 U.S. Dist. Lexis 37711, 2010 WL 1541187 (S.D. Fla. 2010), citing Fla

  Dep’t of Educ. V. Glasser, 622 So. 2d 944, 948 (Fla. 1993).

                                   FACTUAL ALLEGATIONS

          14.     Overview: As detailed below, various related claims and lawsuits have been

  asserted against 1 Global, Ruderman, Ledbetter, Atlas and KO. Read together, these claims and

  suits allege a single, ongoing scheme to sell unregistered securities offered by 1 Global, and to

  funnel the proceeds from these illegal sales to an entity known as Bright Smile Financing, LLC,

  which in turn was owned by various trusts controlled by Ruderman for the benefit of his family

  members.

          15.     1 Global’s Business: 1 Global was in the business of offering short-term

  financing to small and medium size businesses. As alleged in a Complaint filed by the Securities

  and Exchange Commission (Exhibit C hereto), between at least February 2014 and July 27,

  2018, it raised more than $287 million through sales of Memoranda of Indebtedness (“MOIs”) to

  more than 3,400 investors to fund its lending business.




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         16.    Retention of KO: 1 Global and its CEO, Ruderman, retained KO as counsel with

  regard to various matters ranging from litigation, to Human Resources advice, to advice

  regarding the aforementioned MOIs. One of the sources of KO’s alleged liability complained of

  in this matter is a legal opinion by KO attorney Atlas concerning whether the MOIs should be

  registered as securities. This advice came in the form of two letters issued by Mr. Atlas dated

  May 17, 2016 and August 25, 2016. Those letters concluded that the MOIs are not “securities”

  for purposes of the federal securities laws and therefore do not need to be registered. The SEC

  and other claimants now allege that this advice was erroneous and the MOIs did indeed need to

  be registered. Another source of KO’s alleged liability concerns Ledbetter’s alleged active

  involvement in marketing and selling these unregistered instruments and his alleged false

  statements that the MOIs were not securities.

         17.    SEC Action: On August 23, 2018, the United States Securities and Exchange

  Commission filed suit in the United States District Court for the Southern District of Florida,

  against 1 Global, 1 West, Ruderman and others. The action is styled, Securities and Exchange

  Commission v. 1 Global Capital LLC and Carl Ruderman, Defendants, and 1 West Capital LLC,

  Bright Smile Financing LLC, BRR Block Inc., Digi South LLC, Ganador Enterprises LLC, Media

  Pay LLC, Pay Now Direct LLC and Ruderman Family Trust, Relief Defendants, Case No. 0:18-

  CV-61991-BB (“SEC Action”). A copy of the Complaint in the SEC Action is attached as

  Exhibit C hereto. The SEC Action alleges that 1 Global and Ruderman engaged in the sale of

  unregistered securities (the MOIs) and committed fraud in the conduct of 1 Global’s business.

         18.    The SEC Action does not include KO or its attorneys as defendants. However,

  certain proceedings in that action have revealed evidence pertaining to the roles of KO and

  Ledbetter in their interactions with 1 Global and Ruderman. In the course of the SEC Action, the


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  SEC sought (and ultimately obtained) a preliminary injunction imposing a blanket asset freeze

  against Ruderman. Ruderman filed a Memorandum of Law in Opposition to the Motion for a

  Preliminary Injunction (the “Ruderman Memorandum”) in which he raised an advice of counsel

  defense, alleging that he had hired KO “to assist 1 Global (and him) in all aspects of the

  company’s business operations.” The Ruderman memorandum asserted that “KO’s involvement

  in 1 Global was pervasive and substantial, and included forming the company… [and]

  overseeing the company’s efforts to raise capital from individual lenders.”

         19.     The Ruderman Memorandum also stated that an unnamed KO attorney “was

  responsible for overseeing 1 Global’s entire network of sales agents and received a commission

  “override” on all capital raised by these agents.” It also stated that the same (unidentified)

  attorney “was responsible for preparing and disseminating 1 Global’s marketing materials to

  potential lenders… and for supervising and overseeing the marketing efforts by the sales agent

  network, including their representations and statements to potential lenders.” The unidentified

  attorney referenced in the Ruderman Memorandum is Ledbetter.

         20.     Foster Class Action: On September 12, 2018, a putative class action complaint

  was filed in the Miami-Dade County Circuit Court against Ruderman, Ledbetter and KO. The

  action is styled, Sarah Foster, individually and on behalf of all others similarly situated v. Carl

  Ruderman, Kopelowitz Ostrow P.S., and Dale Ledbetter, Case No. 2018-030906-CA-01,

  pending in the Circuit Court in the Eleventh Judicial Circuit in and for Miami-Dade County,

  Florida (“Foster Class Action”). A copy of the First Amended Class Action Complaint in the

  Foster Action is attached as Exhibit D hereto. The Complaint asserts one count against KO and

  Ledbetter based on their alleged sale of unregistered securities (the MOIs) as “Statutory Sellers”

  pursuant to federal securities law (15 U.S.C. §§ 77(e)(a), 77(e)(c) & 77(a)(1)). Specifically, the


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  Complaint asserts that “KO…prepared the MOI contracts between 1 Global and its individual

  lenders” and “when 1 Global sought advice as to whether the MOI’s were securities that needed

  to be registered under the Securities Act, KO advised 1 Global that these were notes that did not

  need to be registered with the SEC.” It also alleges one count against KO and Ledbetter for

  violation of the Florida Securities and Investor Protection Act (Fla. Stat. 517.07 & 517.211) on

  the basis that KO and Ledbetter allegedly were “responsible for preparing and disseminating 1

  Global marketing materials to potential lenders, and for supervising and overseeing the

  marketing efforts by the sales agent network.” For both counts, it alleges that KO is liable for the

  actions of Ledbetter under the doctrine of respondeat superior on the grounds that Ledbetter was

  acting within the scope and course of his employment as “Of Counsel” with KO.

         21.     The Foster Class Action Complaint cites to the SEC Action in which Ruderman

  alleges that “1st Global's marketing operations to potential individual lenders – described by the

  SEC as investors – was spearheaded by an attorney at KO (the ‘KO Attorney’)…” Foster Class

  Action Complaint, ¶38. It claims that the “KO Attorney” is Dale Ledbetter. Id. The Complaint

  continues, reproducing excerpts from Ruderman's declaration in the SEC action, that Mr.

  Ledbetter “was responsible for overseeing 1 Global's entire network of sales agents, and received

  a commission ‘override’ on all capital raised by these agents.” Id. Ledbetter was also allegedly

  “responsible for preparing and disseminating 1 Global marketing materials to potential lenders,

  and for supervising and overseeing the marketing efforts by the sales agent network, including

  their representation and statements to potential lenders.” Id.

         22.     The Complaint further claims that Ledbetter “was actively involved in attracting

  brokers to sell 1st Global's unregistered securities on behalf of 1st Global.” Foster Class Action

  Complaint, ¶39. It further alleges that Mr. Ledbetter assured brokers that the MOIs to be sold by


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  1 Global were not securities that required registration with the SEC. Id. at ¶39. Supposedly, Mr.

  Ledbetter did not work for 1 Global but received finder's fees from 1 Global with percentages

  varying from .75% to 1 % of all agents that brought in money to 1 Global, and that Mr. Ledbetter

  received $100,000 to $200,000 in commissions monthly. Id., ¶41.

            23.      Stoltmann Law Offices Class Action and Demand: On February 13, 2019, the

  Stoltmann Law Offices filed a purported class action in the Circuit Court of Cook County,

  Illinois, captioned Russell and Kim Rasner, et al. v. Kopelowitz Ostrow, P.A. and Andrew Dale

  Ledbetter, Case No. 2019L001635 (“Rasner Class Action”). A copy of the Complaint in the

  Rasner Action is attached as Exhibit E hereto.

            24.      The Rasner Class Action purported to be a class action and was brought on behalf

  of 88 named individual plaintiffs domiciled in the State of Illinois who purchased MOIs from 1

  Global.         According to the Complaint, each named plaintiff suffered damages of at least

  $100,000 because the MOIs they purchased were a “total loss,” resulting in collective damages

  of over $19 million for all 88 plaintiffs.

            25.      The Rasner Class Action Plaintiffs alleged that instead of using their money as

  specified in the MOIs, “1st Global used substantial amounts of lender money to pay operating

  expenses and to purchase already-distressed long term credit card debt.” Moreover, they alleged

  that “1st Global and its CEO misappropriated at least $35 million of investor money, including

  funneling money to other companies owned or controlled by Ruderman, companies owned by

  Ruderman’s friends and relatives, or by Ruderman himself to pay for vacations, make payments

  on his Mercedes Benz, payments for his housekeeper and personal chef, payments to personal

  credit cards companies, payments to for his son’s car insurance, and payments to his ex-wife.”




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         26.     Finally, the Complaint in the Rasner Class Action alleged that Ledbetter “made

  representations” to plaintiffs’ financial advisor and directly to plaintiffs “in order to induce the

  Plaintiffs to invest in 1st Global.” These representations concerned “the legality and structure of

  1st Global.” This included “appearing in videos for use by . . . [plaintiffs’ financial advisors] to

  sell investment in 1st Global, preparing marketing materials for 1st Global, and giving legal

  advice to the . . . [financial advisors] as to the legality of the 1st Global scheme.” It further

  alleged that Ledbetter received commissions on the sales of MOIs to plaintiffs, a fact which he

  improperly failed to disclose to plaintiffs.

         27.     The Rasner Class Action was eventually dismissed without prejudice.

         28.     Demands Against KO, Ledbetter and Atlas: Numerous demands for payment

  of damages, both pre-litigation and post-litigation, have been made against KO, Ledbetter and

  Atlas, as detailed below.

         29.     Ruderman’s Demands Against KO, Ledbetter and Atlas:                  In early 2019,

  Ruderman informed KO, Ledbetter and Atlas that he intended to assert substantial claims against

  them, including his intent to assert in the Foster Class Action cross-claims for professional

  negligence and indemnification based on KO’s advice not to register the MOIs. Ruderman also

  threatened to bring a separate suit against KO seeking indemnification to the extent of his

  liability, if any, in the SEC action and for separate and additional damages based on the legal

  advice provided by KO.

         30.     Demands of 1 Global, Creditor’s Committee and Foster Class Action

  Plaintiffs’ to KO, Ledbetter and Atlas:           The Creditor's Committee in the bankruptcy

  proceedings of 1 Global and 1 West, and the Foster Class Action Plaintiffs, also seek substantial

  sums of money from KO, Ledbetter and Atlas for malpractice and breaches of fiduciary duty.


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  The demand also asserts that KO, Ledbetter and Atlas were paid substantial sums of money in

  legal fees and/or commission in connection with their representation of 1 Global, and that those

  payments are recoverable on the basis of fraudulent transfers and/or disgorgement.

         31.     Supplemental Demand of 1 Global, Creditor’s Committee and Foster Class

  Action Plaintiffs: These claimants subsequently stated their position that KO, Ledbetter and

  Atlas engaged in distinct and unrelated Wrongful Acts as that term is used in the AAIC Policies,

  purportedly giving rise to multiple, separate Claims, supposedly implicating the $4 million

  aggregate limit provision.

         32.     Specifically, claimants asserted that there are two “separate” claims, consisting of:

  (1) alleged professional malpractice arising out of KO’s opinion letters advising that the MOIs

  are not securities that need to be registered, and (2) the professional malpractice claim arising out

  of an alleged conflict of interest in KO representing both 1 Global and Bright Smile Financing,

  LLC (“Bright Smile”) (and possibly certain trusts affiliated with Bright Smile), even though,

  according to the demand, 1 Global “was and has always been adverse to Bright Smile.” In

  particular, claimants alleged that Bright Smile was formed by KO but controlled by Ruderman,

  and that it was in the business of lending money to individuals for the purpose of financing

  cosmetic or dental procedures. Claimants alleged that KO simultaneously represented 1 Global,

  Mr. Ruderman and Bright Smile without any conflict waiver letters, and that no attorney of KO

  ever advised 1 Global of the potential conflicts, explained to 1 Global the potential ramifications

  of the dual representation, advised 1 Global to seek independent counsel regarding a waiver of

  conflict, or obtained the informed consent of 1 Global to such dual representation. According to

  claimants, 1 Global and Bright Smile have always been adverse because 1 Global transferred

  millions of dollars to Bright Smile. Claimants also alleged that KO formed a trust (“Bright Smile


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  Trust”) to hold the membership interests in Bright Smile, naming Ruderman as Grantor, Atlas as

  Trustee, and Ruderman’s wife and children as the Beneficiaries.

         33.    The various claims and lawsuits described above in Paragraphs 17-32 are referred

  to collectively in this Complaint as the “Underlying Claims and Suits.”

         34.    The Foster Class Action Lawsuit was first reported to AAIC in writing during the

  period of the First AAIC Policy. AAIC has agreed to defend and has been defending Defendants

  KO, Ledbetter and Atlas under a full and complete reservation of rights.

                                       THE AAIC POLICY

         35.    The AAIC Policies contain the following insuring agreements:

         LAWYERS PROFESSIONAL LIABILITY INSURANCE

         This is a claims made and reported policy with CLAIMS EXPENSES
         included within the limits of liability. Please read the entire policy
         carefully. The coverage provided under this policy is limited to those
         claims first made against the INSURED and reported in writing to the
         Company during the POLICY PERIOD unless and to the extend an
         Extended Reporting Period applies. CLAIMS EXPENSES are payable
         within and not in addition to the policy limit of liability.

                                            ****

                       SECTION I – INSURING AGREEMENTS

         A. COVERAGE – PROFESSIONAL LIABILITY

         1. The company shall pay on behalf of any INSURED all DAMAGES and
         related CLAIMS EXPENSES in excess of the deductible which any
         INSURED becomes legally obligated to pay as a result of CLAIMS first
         made against any INSURED during the POLICY PERIOD and reported to
         the Company in writing during the POLICY PERIOD or within sixty (60)
         days thereafter, by reason of any WRONGFUL ACT occurring on or after
         the RETROACTIVE DATE, but only to the extent this policy applies to
         such CLAIMS or DAMAGES…

         2. Coverage shall apply only to any such CLAIMS arising out of the
         conduct of the INSURED'S PROFESSIONAL SERVICES.



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        B. DEFENSE, INVESTIGATION AND SETTLEMENT OF CLAIMS

        1. With respect to such insurance afforded by this policy for DAMAGES
        and CLAIMS EXPENSES that are covered under this Policy, the
        Company shall:

        a. have the right and duty to defend, including selection of counsel and
        arbitrators, in any INSURED'S name and on any INSURED'S behalf any
        CLAIM for DAMAGES to which this policy applies, against any
        INSURED, even if such CLAIM is groundless, false or fraudulent and
        shall have the right to make such investigation, negotiation and settlement,
        subject to any CLAIM as it deems expedient;

        b. not settle any CLAIM without the written consent of the NAMED
        INSURED which consent shall not be unreasonably withheld. If however,
        the NAMED INSURED refuses to consent to a settlement recommended
        by the Company and elects to contest the CLAIM or continue legal
        proceedings in connection with such CLAIM, the Company's liability for
        the CLAIM shall not exceed the amount for which the CLAIM could have
        been settled, including related CLAIMS EXPENSES up to the date of
        such refusal, or the applicable limits of liability, whichever is less;

        c. reimburse up to $750.00 to each INSURED for each day or part thereof
        for his or her attendance at the Company's request at trial or court-imposed
        hearing or arbitration proceeding involving a CLAIM, but the total amount
        so payable shall not exceed $50,000 per POLICY PERIOD. Any payments
        made by the Company under this provision will be in addition to the
        applicable limits of liability and shall not be subject to the deductible.

        d. The Company shall not be obligated to provide coverage for
        DAMAGES or CLAIMS EXPENSES once the limit of the Company's
        liability as stated in the Declarations has been exhausted by payment of
        DAMAGES and/or CLAIMS EXPENSES.

                                           ****

               36.     The AAIC Policies contain the following provisions concerning limits of

        liability and deductible:

            SECTION II – LIMITS OF LIABILITY AND DEDUCTIBLE

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        D. CLAIMS EXPENSES

        CLAIMS EXPENSES are within the limits of liability and not in addition
        hereto. Such CLAIMS EXPENSES shall reduce the available limit of
        liability.

        E. MULTIPLE INSUREDS, CLAIMS AND CLAIMANTS

        1. The inclusion of more than one INSURED in any CLAIM or the
        making of CLAIMS by more than one person or organization shall not
        operate to increase the limits of liability or deductible.

        2. Two or more CLAIMS arising out of a single WRONGFUL ACT or a
        series of related WRONGFUL ACTS shall be treated as a single CLAIM.
        Such CLAIMS are RELATED CLAIMS. All such CLAIMS resulting
        from interrelated WRONGFUL ACTS, whenever made shall be
        considered first made on the date on which the earliest CLAIM arising out
        of such WRONGFUL ACT was first made regardless of the number of
        CLAIMS subsequently made and all such CLAIMS are subject to the
        same limits of liability and deductible.

                                            ****

                              SECTION III. DEFINITIONS

        B. CLAIM means a demand made upon any INSURED for DAMAGES,
        including but not limited to service of suit or institution of any alternative
        dispute resolution proceedings against any INSURED.

        C. CLAIMS EXPENSES means all costs allocated to a specific CLAIM
        the Company investigates, settles or defends including:

        1. fees charged by any lawyer retained by the Company to defend the
        INSURED;

        2. If authorized by the Company, all other fees, costs and expenses
        resulting from the investigation, adjustment, defense or appeal of any
        CLAIM, including but not limited to:

           a. All costs taxed against any INSURED and all interest which accrues
           after the entry of any judgment and before the Company has tendered
           or deposited, in court or otherwise, such judgment amount for which
           any INSURED is liable; and

           b. Premiums on appeal bonds and premiums on bonds to release
           attachments in such suits. The Company shall have no obligation to
           provide such bonds.


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        CLAIMS EXPENSES shall not include salaries and expenses of regular
        employees or officers of the Company.

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        I. INSURED means:

        1. the NAMED INSURED;

        2. any past or present partner, officer, director, lawyer (including a
        government affairs advisor or lobbyist), member of a professional
        association, professional corporation, limited liability corporation, limited
        liability partnership, professional limited liability corporation, stockholder,
        employee, legal assistant, law firm administrator, paralegal, independent
        contractor or of counsel of the NAMED INSURED, but only as respects
        PROFESSIONAL SERVICES rendered on behalf of the NAMED
        INSURED subject to the RETROACTIVE DATE;

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        R. PROFESSIONAL SERVICES means any services arising out of the
        conduct of the INSURED'S profession as a Lawyer, Lobbyist,
        Government Affairs Advisor, or as a Lawyer acting the capacity of an
        Arbitrator, Mediator, Neutral Fact Finder, Title Insurance Agent, or
        Notary Public, or as a member, director, or officer of any Bar Association,
        its Governing board or any of its committees. The definition
        PROFESSIONAL SERVICES shall include services any INSURED
        performs as an author or publisher of legal research papers, legal materials
        or while preparing materials and presenting legal seminars but only where
        such services are performed without compensation or compensation per
        publication, presentation or seminar is less than $30,000.

                                            ****

        U. RELATED CLAIMS mean all CLAIMS arising out of a single
        WRONGFUL ACT or arising out of related WRONGFUL ACTS in the
        rendering of PROFESSIONAL SERVICES or NON-PROFIT OUTSIDE
        ENTITY services.

                                            ****

        X. WRONGFUL ACT(S) means any actual or alleged:

        1. act;
        2. error;
        3. omission;
        4. misstatement;

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        5. misleading statements;
        6. neglect or breach of duty or network privacy;
        7. personal injury; or
        8. advertising injury.

                             SECTION IV. EXCLUSIONS

        This policy does not apply to:

        A. Criminal, Fraudulent, Malicious, Dishonest or Intentional Acts. Any
        CLAIM that results in any final judgment or final adjudication against any
        INSURED based upon or arising out of any criminal, intentional,
        dishonest, fraudulent or malicious WRONGFUL ACT including any
        willful violation of any statute or regulation. This exclusion does not apply
        to any INSURED who is not so adjudged.

        B. Prior Knowledge. Any CLAIM arising out of any WRONGFUL ACT
        occurring prior to the effective date of this policy if:

        1. the matter had previously been reported to any insurance company; or

        2. if the INSURED at or before the effective date of this policy knew or
        could have reasonably foreseen that such WRONGFUL ACT might be
        expected to be the basis of a CLAIM. However, this paragraph B.2 does
        not apply to any INSURED who had no knowledge of or could not have
        reasonably foreseen that any such WRONGFUL ACT might be expected
        to be the basis of a CLAIM.

        3. In no event will a CLAIM be covered under this policy if it is
        attributable to or arises out of a WRONGFUL ACT that occurred prior to
        this policy's RETROACTIVE DATE.

                                           ****

        F. INSURED'S Activities. Any CLAIM arising out of any INSURED'S
        activities as an officer, director, partner, manager or employee of any
        company, corporation, operation, organization or association other than
        the NAMED INSURED or PRIOR LAW FIRM except as a member,
        director or officer of any Bar Association, its governing board or any of its
        committees.

                                           ****

        M. Business Enterprise. Any CLAIM arising out of PROFESSIONAL
        SERVICES or legal advice rendered by any INSURED in connection with
        any business enterprise not shown on the Declarations:


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        1. that is was or will be owned in whole or in part by any INSURED or
        any member of any INSURED'S IMMEDIATE FAMILY;

        2. that is, was or will be in any way controlled, operated or managed by
        any INSURED or any member of any INSURED'S IMMEDIATE
        FAMILY including the ownership, maintenance or use of any property in
        connection therewith; or

        3. in which any INSURED or any member of any INSURED'S
        IMMEDIATE FAMILY is, was or will be a partner or employee.

                                          ***

              PRIOR AND PENDING LITIGATION ENDORSEMENT

        This endorsement modifies Insurance provided under the following:

        LAWYERS PROFESSIONAL LIABILITY COVERAGE PART

        In consideration of the premium paid, it is hereby understood and agreed
        that the Company has no duty to defend or indemnify an INSURED for,
        and this policy does not apply to any CLAIM based upon or arising out of
        any:

        a. inquiry or proceeding by a regulatory or licensing board, peer review
        committee, disciplinary official or state/ federal agency; or,

        b. a demand, suit or proceeding pending, or order, decree, settlement or
        judgment entered against the NAMED INSURED as of 12/01/2014.

        Including any CLAIM alleging or derived from the same or essentially the
        same facts as alleged in such pending or prior litigation or demand.

                                          ***

                     RETROACTIVE DATE ENDORSEMENT

        This endorsement modifies Insurance provided under the following:

        LAWYERS PROFESSIONAL LIABILITY COVERAGE PART

        In consideration of the premium paid, it is agreed that the policy is
        amended as follows:

        This policy does not apply to any CLAIMS or CLAIMS arising from,
        attributable to, or based upon any WRONGFUL ACT(S) committed or



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          alleged to have been committed by the following INSUREDS prior to the
          retroactive date listed in the following schedule.

                                             ***

                               SECTION VI - CONDITIONS

          B. INSURED'S DUTIES SUBSEQUENT TO CLAIM

          1. All INSUREDS shall cooperate with the Company in the defense,
          investigation and settlement of any CLAIM.

          Upon the Company’s request, the INSURED, shall submit to examination,
          attend hearings, depositions and trials and assist in effecting settlement,
          securing and giving evidence and obtaining the attendance of witnesses in
          the conduct of suits, mediations or similar proceedings.

          2. All INSUREDS shall assist the Company in effecting any rights of
          indemnity, contribution or apportionment available to any INSURED of
          the Company.

          C. REPORTING OF POTENTIAL CLAIMS

                                              ***

          1. If, during the POLICY PERIOD, any INSURED first becomes aware of
          any WRONGFUL ACT which might reasonably give rise to a CLAIM
          against any INSURED under this policy and gives written notice of such
          WRONGFUL ACT to the Company during the POLICY PERIOD, any
          CLAIMS subsequently made against any INSURED arising out of that
          WRONGFUL ACT shall be considered to have been made during such
          POLICY PERIOD.

                                             ***

                                        COUNT I
                         DECLARATION RE “PROFESSIONAL SERVICES”

          37.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-36 as if

  fully stated herein.

          38.     It is the position of AAIC that the AAIC Policies do not provide coverage for the

  Underlying Claims and Suits to the extent that the wrongful acts alleged therein do not fall

  within the AAIC Policies’ definition of “PROFESSIONAL SERVICES.” As an example, an


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  insured’s participation in the sales and marketing of securities, which has been alleged with

  respect to Ledbetter, does not constitute “Professional Services.” See AAIC Policies, Section I –

  Insuring Agreements, Coverage A.2 (“Coverage shall apply only to any such CLAIMS arising

  out of the conduct of the INSURED’S PROFESSIONAL SERVICES.” Also See Definition R

  (“PROFESSIONAL SERVICES”).

          39.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.

                                    COUNT II
                    DECLARATION RE EXCLUSION “F” – ACTIVITIES
                 AS OFFICER OR EMPLOYEE OF A NON-INSURED ENTITY

          40.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-39 as if

  fully stated herein.

          41.     It is the position of AAIC that the AAIC Policies do not provide coverage for the

  Underlying Claims and Suits to the extent that the wrongful acts alleged therein constitute

  “activities as an officer, director, partner, manager or employee of any company . . . other than

  the NAMED INSURED or PRIOR LAW FIRM. . . .” See AAIC Policies, Exclusion F. As an

  example, an insured’s participation in the sales and marketing of securities, which has been

  alleged with respect to Ledbetter, and the provision of other services for which KO did not bill

  any client, as was also alleged, are activities that fall within the scope of Exclusion F.

          42.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.




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                                COUNT III
                DECLARATION RE EXCLUSION “M” – RENDERING
         PROFESSIONAL SERVICES AS EMPLOYEE OF NON-INSURED ENTITY

          43.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-42 as if

  fully stated herein.

          44.     It is the position of AAIC that the AAIC Policies do not provide coverage for the

  Underlying Claims and Suits to the extent that the wrongful acts alleged therein constitute

  rendering PROFESSIONAL SERVICES or legal advice in connection with 1 Global, 1 West or

  any other business enterprise not shown on the AAIC Policies’ Declarations, that was owned in

  whole or in part by any INSURED or any member of any INSURED'S IMMEDIATE FAMILY

  or that was any way controlled, operated or managed by any INSURED or any member of any

  INSURED'S IMMEDIATE FAMILY or in which any INSURED or any member of any

  INSURED'S IMMEDIATE FAMILY was a partner or employee. See AAIC Policies, Exclusion

  IV.M. Certain allegations against Ledbetter, including allegations that he accepted commissions

  on the sale of MOIs, indicate that he may have been acting in the capacity as an employee or

  partner of 1 Global.

          45.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.

                                      COUNT IV
                           DECLARATION RE WRONGFUL ACTS
                         OCCURRING BEFORE RETROACTIVE DATE

          46.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-45 as if

  fully stated herein.




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          47.     It is the position of AAIC that there is no coverage under the AAIC Policies to the

  extent that the CLAIM for which coverage is sought involves WRONGFUL ACTS occurring,

  committed or alleged to have been committed before the RETROACTIVE DATE. For example,

  there is no coverage for any WRONGFUL ACTS committed or alleged to have been committed

  by Ledbetter before October 27, 2014. See AAIC Policies, Retroactive Date Endorsement and

  Schedule, and Insuring Agreement I.A.1.

          48.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.

                                    COUNT V
                  DECLARATION RE EXCLUSION “B” - WRONGFUL ACTS
                  PREVIOUSLY REPORTED OR REASONABLY FORESEEN

          49.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-48 as if

  fully stated herein.

          50.     It is the position of AAIC that there is no coverage under the First AAIC Policy

  for any CLAIM arising out any WRONGFUL ACT occurring prior to the effective date of that

  policy, or under the Second AAIC Policy for any CLAIM arising out of any WRONGFUL ACT

  occurring prior to the effective date of that policy, to the extent that the matter had previously

  been reported to any insurance company or if the INSURED at or before the effective date of the

  AAIC Policy knew or could have reasonably foreseen that such WRONGFUL ACT might be

  expected to be the basis of a CLAIM. See AAIC Policies, Section IV. Exclusions, B.1 and B.2.

  In this instance, KO, Ledbetter and Atlas knew or could have reasonably foreseen before

  December 1, 2017, that the WRONGFUL ACTS alleged in the Underlying Claims and Suits

  might be expected to be the basis of a CLAIM, given their involvement with Ruderman and 1


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  Global dating back at least as far as February 2014. Moreover, prior to December 1, 2018, the

  matters that are the subject of the Underlying Claims and Suits had already been reported to

  AAIC.

          51.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.

                                     COUNT VI
                         DECLARATION CLAIMS ARISING OUT OF
                     PRIOR AND PENDING LITIGATION AND DEMANDS

          52.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-51 as if

  fully stated herein.

          53.     It is the position of AAIC that the AAIC Policies do not provide coverage for the

  Underlying Claims and Suits to the extent that any of those claims and suits allege or derive from

  the same or essentially the same facts as alleged in pending or prior litigation or demands.

  Certain Underlying Claims and Suits that were tendered in February of 2019, during the period

  of the Second AAIC Policy, allege or derive from the same or essentially the same facts as

  alleged in pending or prior litigation or demands such as the Foster Class Action. See AAIC

  Policies, Prior and Pending Litigation Endorsement.

          54.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.




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                                    COUNT VII
                        DECLARATION RE CLAIMS MADE AFTER
                       EXPIRATION OF FIRST AAIC POLICY THAT
                ARISE OUT OF WRONGFUL ACTS PREVIOUSLY REPORTED

          55.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-54 as if

  fully stated herein.

          56.     It is the position of AAIC that, because during the period of the First AAIC

  Policy, KO, Ledbetter and/or Atlas gave written notice of the WRONGFUL ACTS that are the

  subject of the Underlying Claims and Actions, any CLAIMS subsequently made against KO,

  Ledbetter and/or Atlas arising out of that WRONGFUL ACT shall be considered to have been

  made during the period of the First AAIC Policy and not during the period of the Second AAIC

  Policy. See AAIC Policies, Section VI, Conditions, Par. C.1.

          57.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.

                                    COUNT VIII
                        DECLARATION RE CLAIMS FOR REFUND
                   OR RESTITUTION OF LEGAL FEES PAID TO INSURED

          58.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-57 as if

  fully stated herein.

          59.     It is the position of AAIC that the AAIC Policies do not cover claims for the

  refund or restitution of legal fees paid to KO, pursuant to the definition of “DAMAGES” in

  Section III.E of the AAIC Policies, which excludes legal fees, commissions and compensation

  charged by the INSURED.




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          60.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.

                                    COUNT IX
                         DECLARATION RE CLAIMS ALLEGING
                CRIMINAL, FRAUDULENT, MALICIOUS, OR DISHONEST ACTS
                     INCLUDING WILLFUL VIOLATION OF STATUTE

          61.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-60 as if

  fully stated herein.

          62.     It is the position of AAIC that, to the extent that any claim alleging criminal,

  fraudulent, malicious, dishonest or intentional acts, including any willful violation of any statute

  or regulation, results in a final judgment or final adjudication against any INSURED based upon

  such conduct, there is no coverage under the AAIC Policies. See AAIC Policies, Exclusion

  IV.A.

          63.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.

                                     COUNT X
                             DECLARATION RE RELATED
                         WRONGFUL ACTS AND RELATED CLAIMS

          64.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-63 as if

  fully stated herein.

          65.     It is the position of AAIC that the allegations in the Underlying Claims and

  Actions represent a series of related WRONGFUL ACTS, and therefore shall all be treated as a

  single CLAIM or RELATED CLAIMS, and therefore shall be considered first made on the date



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  on which the earliest such CLAIM was first made, pursuant to Section II, Limits of Liability and

  Deductible, Par. E.2, and Section III, Definition U (“RELATED CLAIMS”), of the AAIC

  Policies.

          66.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.

                                      COUNT XI
                         DECLARATION RE DUTY OF COOPERATION

          67.     Plaintiff AAIC hereby incorporates by reference and restates paragraphs 1-66 as if

  fully stated herein.

          68.     After AAIC received notice of certain underlying claims, counsel for AAIC

  requested Atlas, Ledbetter and KO to present themselves for examinations under oath pursuant to

  Condition VI.B.1 and VI.B.2 of the AAIC Policies. Defendant Atlas refused to appear for an

  examination under oath, without justification, cause or excuse. Defendant Ledbetter appeared

  and answered some questions, however, he walked out before the examination was completed,

  without justification, cause or excuse. The corporate representative for KO also appeared,

  however, he refused to be sworn. Each of these instances was a material failure to cooperate

  which substantially prejudiced AAIC. Accordingly, it is the position of AAIC that the assistance

  and cooperation conditions set forth in Condition VI.B.1 and VI.B.2 of the AAIC Policies were

  violated, precluding coverage under those policies of insurance.

          69.     On information and belief, an actual, present, and justiciable controversy exists

  between AAIC and one or more of the Defendants regarding this issue that warrants the entry of

  declaratory judgment by this Court.



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         WHEREFORE, Plaintiff AMERICAN ALTERNATIVE INSURANCE CORPORATION

  respectfully requests this Honorable Court to enter judgment in its favor, declaring that:

                 A.      No coverage exists under one or both of the AAIC Policies for the

                         Underlying Claims and Actions asserted against KO, Ledbetter and Atlas.

                 B.      AAIC has no duty to defend or indemnify KO, Ledbetter and Atlas under

                         one or both of the AAIC Policies with respect to the Underlying Claims

                         and Actions.

                 C.      Any and all such other relief this Honorable Court deems just and proper

                         under the circumstances.

                                                Respectfully submitted,


                                                s/Rory Eric Jurman
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